
Writ denied. By denying the writ, we point out that writs of certiorari are frequently denied without any consideration of the merits. Haden v. Olan Mills, *Page 935 Inc., 273 Ala. 129, 135 So.2d 388 (1961). A denial of certiorari should never be considered as an expression by the reviewing court on the merits of the controversy. See HamiltonBrown Shoe Co. v. Wolf Brothers, 240 U.S. 251, 36 S.Ct. 269,60 L.Ed. 629 (1916). Our denial of the writ should not be understood as approving or disapproving the language used, or the statements of law contained in the opinion of the Court of Criminal Appeals. See Cooper v. State, 287 Ala. 728,252 So.2d 108 (1971).
WRIT DENIED.
TORBERT, C.J., and JONES, SHORES and BEATTY, JJ., concur.